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                    United States Court of Appeals
                                    For the First Circuit
      No. 22-1723

                                          UNITED STATES,

                                              Appellee,

                                                  v.

                                         DANIEL DONALD,

                                        Defendant - Appellant.


                                             MANDATE

                                     Entered: November 22, 2023

             In accordance with the judgment of October 16, 2023, and pursuant to Federal Rule of
      Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                                By the Court:

                                                Maria R. Hamilton, Clerk


      cc:
      Daniel Donald
      Karen Lisa Eisenstadt
      Greg A. Friedholm
      Donald Campbell Lockhart
      John Todd Mulcahy
      Michael Francis Pabian
      Gordon Wayne Spencer
      Lucy Sun
